     Case: 4:05-cr-00095-SA-DAS Doc #: 857 Filed: 08/21/06 1 of 1 PageID #: 2394




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

UNITED STATES OF AMERICA

VERSUS                                                CRIMINAL ACTION NO. 4:05CR95-P-B

KEVIN MATTHEWS

                                              ORDER

       This cause is before the Court on defendant Kevin Matthews’ Motion to Suppress [524].

The Court, having reviewed the motion, the response, the authorities cited and being otherwise

fully advised in the premises, finds as follows, to-wit:

       Defendant seeks suppression of evidence seized pursuant to search warrants, electronic

surveillance, wire taps, court orders or other searches and seizures based on lack of probable

cause. However, the motion is devoid of any specific factual allegations from which the Court

might adjudge the need for a suppression hearing or determine the merits of said motions:

       Factual allegations set forth in the defendant’s motion . . . must be “‘sufficiently
       definite, specific, detailed, and nonconjectural, to enable the court to conclude that
       a substantial claim is presented.’” General or conclusionary assertions, founded
       upon mere suspicion or conjecture, will not suffice.

United States v. Harrelson, 705 F.2d 733, 737 (5th Cir. 1983) (citations omitted). Given the

defendant’s failure to articulate a substantial claim, the Court concludes that the instant motion is

without merit and should be denied.

       IT IS, THEREFORE, ORDERED AND ADJUDGED that the defendant’s Motion to

Suppress [524] is not well-taken and should be, and hereby is, DENIED.

       SO ORDERED, this the 18th day of August, 2006.

                                                      /s/ W. Allen Pepper, Jr.
                                                      W. ALLEN PEPPER, JR.
                                                      UNITED STATES DISTRICT JUDGE
